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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

IN RE PHARMACEUTICAL INDUSTRY
AVERAGE WHOLESALE PRICE LITIGATION

THIS DOCUMENT RELATES TO:

The City of New York v. Abbott Laboratories, Inc., et
al.
S.D.N.Y. Case No. 04-CV-06054

County of Albany v. Abbott Laboratories, Inc., et al.
N.D.N.Y. Case No. 05-CV-0425

County of Allegany v. Abbott Laboratories, Inc., et al.
W.D.N.Y. Case No. 05-CV-0236

County of Broome v. Abbott Laboratories, Inc., et al.
N.D.N.Y. Case No. 05-CV-0456

County of Cattaraugus v. Abbott Laboratories, Inc., et
al.
W.D.N.LY. Case No. 05-CV-0256

County of Cayuga v. Abbott Laboratories, Inc., et al.
N.D.N.Y. Case No. 05-CV-0423

County of Chautauqua v. Abbott Laboratories, Inc., et
al.
W.D.N.Y. Case No. 05-CV-0214

County of Chemung v. Abbott Laboratories, Inc., et al.
W.D.N.Y. Case No. 05-CV-6744

County of Chenango v. Abbott Laboratories, Inc., et
al.
N.D.N.Y. Case No. 05-CV-0354

County of Columbia v. Abbott Laboratories, Inc., et al.
N.D.N.Y. Case No. 05-CV-0867

County of Cortland v. Abbott Laboratories, Inc., et al.
N.D.NLY. Case No. 05-CV-0881

County of Dutchess v. Abbott Laboratories, Inc., et al.
S.D.N.Y. Case No. 05-CV-6458

MDL NO. 1456
Civil Action No. 01-12257-PBS

Judge Patti B. Saris

CAPTIONED PLAINTIFFS’
MEMORANDUM IN OPPOSITION
TO MERCK’S MOTION FOR
LEAVE TO FILE MEMORANDUM
IN RESPONSE TO PLAINTIFFS’
"NOTICE OF SUPPLEMENTAL
AUTHORITY IN OPPOSITION TO
MERCK’S MOTION TO DISMISS"

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County of Fulton v. Abbott Laboratories, Inc., et al.
N.D.NY. Case No. 05-CV-0519

County of Genesee v. Abbott Laboratories, Inc., et al.
W.D.N.Y. Case No. 05-CV-00267

County of Greene v. Abbott Laboratories, Inc., et al.
N.D.NLY. Case No. 05-CV-0474

County of Herkimer v. Abbott Laboratories, Inc., et al.
N.D.N.Y. Case No. 05-CV-00415

County of Jefferson v. Abbott Laboratories, Inc., et al.
N.D.N.Y. Case No. 05-CV-0715

County of Lewis v. Abbott Laboratories, Inc., et al.
N.D.N.Y. Case No. 05-CV-0839

County of Madison v. Abbott Laboratories, Inc., et al.
N.D.N.Y. Case No. 05-CV-00714

County of Monroe v. Abbott Laboratories, Inc., et al.
W.D.N.Y. Case No. 05-CV-6148

County of Niagara v. Abbott Laboratories, Inc., et al.
W.D.N.Y. Case No. 05-CV-06296

County of Oneida v. Abbott Laboratories, Inc., et al.
N.D.N.Y. Case No. 05-CV-0489

County of Onondaga v. Abbott Laboratories, Inc., et
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N.D.N.Y. Case No. 05-CV-0088

County of Ontario v. Abbott Laboratories, Inc., et al.
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County of Orleans v. Abbott Laboratories, Inc., et al.
W.D.N.Y. Case No. 05-CV-6371

County of Putnam v. Abbott Laboratories, Inc., et al.
5.D.N.Y. Case No. 05-CV-04740

County of Rensselaer v. Abbott Laboratories, Inc., et
al.
N.D.N.Y. Case.No. 05-CV-00422

County of Rockland v. Abbott Laboratories, Inc., et al.
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County of St. Lawrence v. Abbott Laboratories, Inc., et
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County of Saraioga v. Abbott Laboratories, Inc., et al.
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County of Steuben y. Abbott Laboratories, Inc., et al.
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County of Suffolk v. Abbott Laboratories, Inc., et al.
E.D.N.Y. Case No. 03-CV-12257

County of Tompkins v. Abbott Laberatories, Inc., et al.
N.D.N.Y. Case No. 05-CV-0397

County of Ulster v. Abbott Laboratories, Inc., et al.
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County of Warren v. Abbott Laboratories, Inc., et al.
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County of Washington v. Abbott Laboratories, Inc., et
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County of Wayne v. Abbott Laboratories, Inc., et al.
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County of Westchester v. Abbott Laboratories, Inc., et
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County of Wyoming v. Abbott Laboratories, Inc., et al.
W.D.NLY. Case No. 05-CV-6379

County of Yates v. Abbott Laboratories, Inc., et al.
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INTRODUCTION

On November 1, 2006 Plaintiffs filed a Notice of Supplemental Authority in
Opposition to Merck’s Motion To Dismiss, appending a May 31, 2006 decision from the
matter styled Nevada, ex rel. Steinke v. Merck & Co., Inc., 432 F. Supp. 2d 1082 (D. Nev.
2006) (“Steinke”). On December 11, 2006, Merck filed a Motion for Leave to File
Memorandum in Response to Plaintiffs! “Notice of Supplemental Authority in Opposition
to Merck's Motion to Dismiss" and an accompanying “Memorandum in Response to
Plaintiffs’ ‘Notice of Supplemental Authority in Opposition to Merck's Motion to
Dismiss’” (the “Merck Memorandum”).

Merck argues that leave should be granted because Steinke is mistaken and
irrelevant and, in any event, plaintiffs’ submission is untimely. Merck is wrong on all
counts. The Steinke court considered allegations akin to those in plaintiffs’ Consolidated
Complaint regarding Merck’s abuse of the Nominal Price Exception (“NPE”). It
analyzed the express language of the Medicaid Rebate Statute, the purpose of the NPE,
Congressional intent and Merck’s alleged misconduct and concluded that the Steinke
plaintiffs had stated a cause. This ruling is undeniably relevant here given that plaintiffs’
allegations track those in Steinke and Merck has advanced similar arguments in moving
to dismiss plaintiffs’ NPE related claims.

Further, plaintiffs’ submission of Steinke is timely. Plaintiffs filed the decision
promptly after Merck’s motion for reconsideration of it was effectively withdrawn

ARGUMENT

J. Steinke Is Relevant
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Steinke addresses the exact same issue now before this Court on Merck’s Motion
to Dismiss plaintiffs’ consolidated complaint regarding the “proper reading of the
Medicaid Rebate Statute.” Jd. at 1085. Both Steinke and plaintiffs allege that Merck’s
nominal pricing programs either had significant qualifications attached to them or were
made to commercial, not charitable entities. As such, both Steinke and the plaintiffs
allege that Merck’s deeply discounted prices were not “merely” nominal in amount and
should have been included in any calculation of Best Price. See Steinke at 1087; see
Plaintiffs’ Consolidated Complaint at 7@ 23, 154, 159, 601-607. Given these similarities,
it is simply absurd for Merck to suggest that the decision is irrelevant.

Il. Steinke Was Correctly Decided

The express terms of the Medicaid Rebate Statute and legislative history firmly
demonstrate that the Steinke court was correct when it held that the NPE applies only to
“all prices that are less than 10% of the AMP, but without other qualifications”. Steink
at 1087 (emphasis added), Merck asserts that this interpretation of the NPE is wrong, and
that “[t]he law is clear that manufacturers are required to exclude from Best Price any
price less than 10% of Average Manufacturer Price.” Merck Memorandum at 2
(emphasis added). Notably, Merck’s source for this conclusion is neither the Medicaid
Rebate Statute itself, nor the legislative history. Rather, Merck cherry picks statements
made by CMS and selective portions of the Rebate Agreement in a desperate effort to
create ambiguity where there is none

Merck’s approach is improper. It is well settled that any evaluation of the
Medicaid Rebate Statute must start with the text of the statute itself. That text makes

clear that the Medicaid Rebate statute defined Best Price calculations as excluding prices
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that are “merely nominal in amount” (see 42 USCS § 1396r-8(c)1)C)GD). Adopting
Merck’s reading of the statute (e. that all prices under 10% of AMP are nominally
priced) would render the word “merely” superfluous. Statutory interpretation prohibits
such a reading. See Steinke at 1086 (cardinal principle of statutory interpretation is to
give effect “to every clause and word of a statute”).

Legislative history also confirms the Steinke ruling. It reveals that Congress did
not intend the NPE to be used for all prices in a mathematical band of less than 10% of
AMP, but rather to only prices made available to “special purchasers”. (See Steinke at
1086, citing 136 Cong. Rec. § 12954, *S12962 (1990), quoting congressional statements
that the NPE “was intended to exclude those prices that manufacturers offer to special
purchasers, such as the sale of birth control pills for a penny a pack to Planned
Parenthood.”)

Congress also intended that Medicaid receive the “best discounts in the market”.
Steinke at 1086. This too is incompatible with Merck’s purely mathematical approach to
NPE, as Merck’s approach would allow the best discounts to bypass Medicaid entirely.

Rather than respond to this legislative history, Merck argues that because the
Deficit Reduction Act of 2005 reaffirmed that the nominal price exception applies only to
certain purchasers, this means that the existing NPE was never limited to charitable
institutions or prices contingent on a purchase requirement. See Merck Memorandum at
4. As set forth above however, and in Steinke, the express language of the Rebate
Statute and the Legislative History makes clear the purpose of the NPE from its

inception.
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IH. Merck Admits That Free Goods Contingent On A Purchase
Requirement Must Be Included In Best Price; Free Goods Are
Nominally Priced Goods
Merck admits, as it must, that free goods that are contingent on any purchase
requirement shall be included in Best Price. Steinke at 1085. Merck tries to divorce this
point from its bright line approach to NPE, however, by stating in conclusory fashion that
the “free goods” section of the Best Price definition is “separate” from interpretation of
the NPE. See Merck at 3. Merck is obviously incorrect. Free goods are nominally priced
even under Merck’s overly broad definition; they are “less than 10% of Average
Manufacturer Price.” See Merck Memorandum at 2.
IV. Subsequent Legislative History Also Confirms Steinke.
On January 31, 2007 the Bi-Partisan leadership of the Senate Finance Committee
(the “Committee”) sent a Letter (the “Letter”) to CMS “to report to CMS the
Committee’s findings with respect to its review of nominal pricing.” Letter at 2 annexed
as Exhibit A. This letter provides even further evidence of Congress’ past and present
view of the meaning of the NPE, and confirms that the NPE was to be applied based on
the rype of transaction (i.e. charitable or commercial), as opposed to only the amount of
the transaction, (i.e. less than 10% of AMP). The Committee summarized Congressional
intention regarding the meaning of the NPE, stating unambiguously that (1) the nominal

price exception was intended to be used for charitable purposes only’ (2) “Congress most

' The Ranking Committee members stated “(Congress included the NPE in the Medicaid reforms of OBRA
1990 to ensure that efforts to more closely align Medicaid’s drug pricing with pricing for private purchasers
did not threaten the steep discounts on pharmaceutical products offered to certain purchasers. Recognizing
that charitable and other organizations that provide health care to populations with limited access to
health care often receive special discount prices for pharmaceutical products, Congress wanted to
encourage manufacturers to continue offering deep discounts to such purchasers. Specifically, by
excluding nominal prices from a manufacturer’s best price calculation, Congress, under the original
law, intended to alow pharmaceutical manufacturers to continue offering discounts to charitable

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certainly did not intend for manufacturers to use the NPE as a marketing tool,” and (3)

“manufacturers were on notice that the primary intent of the NPE was to benefit

charitable organizations” Letter at 6.

(1)

(2)

(3)

The Committee further stated:

The interpretation [of charitable intent] is remforced by a report by the Senate
Special Committee on Aging, entitled “Developments in Aging: 1990”, which
stated that the rationale behind the NPE was that “Congress did not want to
threaten” the dramatic discounts offered to “charitable organizations and clinics”
by requiring manufacturers to calculate and remit rebates based on prices not
calculated with the market or any profit motive in mind. /d. at 5;

The Veterans Administration views “nominal” pricing as being pricing, usually
below cost, designed to benefit the public by financially aiding disadvantaged,
not-for-profit covered drug dispensaries or researchers using a drug for an
experimental or non-standard purpose. fd. at 5-6;

Covington and Burling (who, notably serve as counsel to certain defendants
herein) agreed that that “[t]he exclusion of nominal prices from BP calculations
was primarily intended to avoid a chilling effect on manufacturers’ in-kind
contributions to charitable programs. CMS has adopted a bright-line rule that a
nominal price is any price lower than 10% of AMP for the quarter. A nominal
price, however, cannot be conditioned on any purchase requirements. If it is, it
may become relevant for BP purposes.” Jd. at 6.

Taken together, these various portions of the Congressional record make

Congress’ intent clear - the NPE was not intended to be a simplistic mathematical

formula as Merck suggests. Rather, it was an exception unambiguously intended to avoid

discouraging charitable giving. As such, Congress in no way intended the NPE to be

used for commercial practices.

organizations without dramatically increasing the rebate due to states, If nominal prices were not
excluded frorn a manufacturer’s best price calculation, a manufacturer that offered discounts to charitable
organizations greater than those offered to regular customers would have to remit to the State Medicaid
program a rebate for the difference between AMP and the deeply discounted price. Concerned that
manufacturers might stop offering such discounts as a result, Congress saw the nominal pricing exception
as a way to maintain the practice of deep discounts to charitable organizations while still attempting to
more closely align Medicaid’s drug pricing with pricing for private purchasers.” Letter at 4. (2mphasis

added).

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IV. Selective CMS Statements On NPE Do Not Trump The Plain Meaning
Of The Statute Or Congressional Intent

Merck’s tortured approach to the NPE rests almost entirely on cherry-picked
statements by CMS. Even if these statements said what Merck asserts they do (and they
do not), the statements would not trump the plain meaning of the Medicaid Rebate
Statute or Congressional intent as discussed above. See Steinke at 1085, citing Chevron,
ULS.A., Inc. v. NRDC, Ine., 467 U.S. 837, 842, 104 S.Ct. 2778, 81 L.Ed.2d 694
(1984)(agency interpretation is only permissible where it is consistent with congressional
intent.)

VI. Plaintiffs’ Notice Is Timely

Plaintiffs’ submission of Steinke was timely. While the decision issued on May
31, 2006, Merck immediately filed a motion to certify for interlocutory appeal” and a
motion for reconsideration’. Those motions were effectively withdrawn on October 18,
2006 when Nevada and Merck stipulated they would stay the case “to facilitate ongoing
settlement discussions”. Plaintiffs promptly filed Steinke as supplementary authority
thereafter (on November 1, 2006). Had plaintiffs submitted Steinke sooner, Merck
certainly would have objected on the grounds that it was subject of a motion for

reconsideration. This prong of Merck’s response should be disregarded entirely.

* Merck’s Motion to Certify for Interlocutory Appeal the Court’s Order Denying Defendant’s Motion to
Dismiss Plaintiffs’ First Amended Complaint by Defendant Merck and Co., Inc. was filed on July 5, 2006,
See Steinke docket entry #57 attached as Exhibit B.

* Merck’s Motion to Reconsider District Court’s Order on Motion to Dismiss Plaintiffs’ First Amended
Complaint was filed while the interlocutory appeai was stil] pending on August 21, 2006. See Steinke
docket entry #68 attached as Exhibit C.
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CONCLUSION

For the foregoing reasons, Merck’s motion for leave should be denied,

Dated: February 23, 2007

Respectfully submitted,

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